                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                   CRIMINAL ACTION NO. 5:04-CR-00063-KDB-DCK

 UNITED STATES OF AMERICA,


    v.                                                            ORDER

 LARRY WAYNE AIKEN,

                 Defendant.


         THIS MATTER is before the Court on Defendant’s pro se motion for various documents

in his criminal case. (Doc. No. 48).

         In his motion, Defendant requests the Court provide him a copy of the Order on Violation

Report (Doc. No. 30), the Addendum to Supervised Release Violation Report (Doc. No. 37), and

the Transcript of Revocation Hearing (Doc. No. 38).

         Defendant has failed to demonstrate a particularized need for the requested documents. See

United States v. MacCollom, 426 U.S. 317, 326-27 (1976) (holding that federal inmates are not

entitled to transcripts at Government expense absent some showing of a particularized need);

United States v. Glass, 317 F.2d 200, 202 (4th Cir. 1963) (prisoner not entitled to free copies of

documents without a showing of need). If Defendant is still in need of these documents, he may

obtain copies at his own expense or demonstrate a particularized need.

         IT IS THEREFORE ORDERED that Defendant’s motion for documents, (Doc. No. 48),

is DENIED.

                                           Signed: November 9, 2020




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